Case 3:17-cv-00072-NKM-JCH Document 280 Filed 03/16/18 Page 1 of 1 Pageid#: 1950




                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF VIRGINIA
                                    CHARLOTTESVILLE

  Elizabeth Sines, et al,                             )
                                                      )
                            Plaintiff(s)              )
                                                      )
  v.                                                  )    Civil Action No. 3:17CV00072
                                                      )
  Jason Kessler, et al,                               )
                                                      )
                            Defendant(s).             )


                                  CLERK’S ENTRY OF DEFAULT

         The above action was filed in this Court on October 11, 2017. The Defendant(s) Loyal
  White Knights of The Ku Klux Klan        were served on the following dates, and the Plaintiff has
  provided to the court an affidavit and/or other evidence demonstrating proper service of the
  complaint on Defendant(s):


  Loyal White Knights of The Ku Klux Klan             October 24, 2017


         The time for the defendant(s) to appear, answer or otherwise defend having expired, the
  undersigned Clerk does hereby enter default as to the following defendant(s):
                                 Loyal White Knights of The Ku Klux Klan


         See Federal Rules of Civil Procedure, Rule 55(a).
         Copies of this Entry of Default shall be provided to all counsel of record and to the
  Defendant(s).


                                                          JULIA C. DUDLEY, CLERK


                                                          By: _______________________
                                                               Deputy Clerk
